                  No. 24-13102


IN THE UNITED STATES COURT OF APPEALS
      FOR THE ELEVENTH CIRCUIT


    PROPERTIES OF THE VILLAGES, INC.,

                              Plaintiff-Appellee,

                        v.

       FEDERAL TRADE COMMISSION,

                              Defendant-Appellant.


  On Appeal from the United States District Court
        for the Middle District of Florida


 Motion to Hold Appeal in Abeyance for 120 Days


                             ERIC D. MCARTHUR
                               Deputy Assistant Attorney General

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          Properties of the Villages, Inc. v. Federal Trade Commission, No. 24-13102

              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1-1, counsel for appellant certifies that, to

the best of his knowledge, the following persons and entities have an interest in the

outcome of this litigation:

      American Hotel & Lodging Association

      American Investment Council

      Araiza, William

      Arensmeyer, John

      Associated Builders and Contractors, Inc.

      Baker & Hostetler LLP

      Barack, Ryan D.

      Bedoya, Alvaro

      Boucek, Carolyn O.

      Boynton, Brian M.

      Consumer Technology Association

      Corrigan, Hon. Timothy J.

      Covington & Burling LLP

      Creed & Gowdy, P.A.

      Crooks, Jamie

      Democracy Forward Foundation


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Dempsey, Rachel

Emmer, Daniella

Epstein, Becker, & Green, P.C.

Fairmark Partners LLP

Farby, Lesley

Federal Trade Commission

Ferguson, Andrew N.

Friedman, Todd R.

Futures Industry Association

Glover, Matthew J.

Goodnature, Taisa M.

Gowdy, Bryan

Grigsby, Stacey K.

Hearn, Robert

Holyoak, Melissa

Home Care Association of America

Hudson, Brian

Independent Electrical Contractors

International Franchise Association

Janda, Sean R.

Klein, Jonathan M.
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Khan, Lina M.

Kwall Barack Nadeau PLLC

Lammens, Hon. Philip R.

Lieberman, Michael

Liu, Wendy

Lubbers, Jeffrey

Managed Funds Association

Martin, Meagan L.

Mayer Brown LLP

McArthur, Eric D.

Mittal, Urja

Mody, Arjun

Muldowney, Patrick M.

Nachmany, Eli

Nadeau, Michelle Erin

National Association of Wholesaler-Distributors

National Employment Lawyers Association (Florida Chapter), Inc.

National Employment Law Project

National Federation of Independent Business Small Business Legal Center, Inc.

National Retail Federation

Parr, Jennifer
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Posner, Eric A.

Properties of the Villages, Inc.

Public Citizen

Public Citizen Litigation Group

Raab, Michael S.

Restaurant Law Center

Rigby, Katherine G.

Roffino, John

Rose, Alexander

Saharsky, Nicole A.

Samburg, Mark B.

Securities Industry and Financial Markets Association

Seligman, David H.

Slaughter, Rebecca Kelly

Shane, Peter M.

Small Business Majority

Starr, Evan

Todd R. Friedman, P.A.

The Holding Company of The Villages, Inc.

The Villages of Lake-Sumter, Inc.

Thurston, Robin F.
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Towards Justice

United States Council for International Business

Vernon, Emily A.

Warner, A. Millie

Weibust, Erik W.

Westmoreland, Rachael L.

Zehmer, Lauren Willard



                                             s/ Sean R. Janda
                                           Sean R. Janda




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       Pursuant to Federal Rule of Appellate Procedure 27, the government

respectfully moves to hold this appeal in abeyance for 120 days. Plaintiff consents to

this motion. In support of this motion, the government states the following:

       1. In May 2024, the Federal Trade Commission issued a rule that defines most

existing non-competes as unenforceable unfair methods of competition (subject to an

exception for certain senior executives) and bans the future use of most non-

competes. Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024). Plaintiff

challenged that rule, and the district court entered a preliminary injunction prohibiting

the Commission from enforcing the rule against plaintiff. See Dkt. No. 59, at 1-2. This

appeal followed.

       2. Following a change in administration, on January 20, 2025, President Trump

designated Commissioner Andrew N. Ferguson as Chairman of the Commission.

Chairman Ferguson has recently stated publicly that he believes the Commission

should reconsider its defense of the challenged rule: “My view is that the Commission

. . . basically needs to decide whether it’s a good idea [and] it’s in the public interest to

continue defending this rule. . . . I’m going to be presenting at some point” to “my

colleagues the decision about whether to continue defending this Rule.” The Harvard

Salient, FTC Chairman Andrew Ferguson & Harvard Law Professor Adrian Vermueule:

CORE Conference 2025, at 35:17-:40, https://www.youtube.com/watch?v=ty3s-

zjLQFk.
        In light of the foregoing, the government respectfully moves to hold this

appeal in abeyance for 120 days. An abeyance will conserve party and judicial

resources and promote the efficient and orderly disposition of this appeal. The

government respectfully proposes that, at the end of a 120-day abeyance period, the

government can provide the Court with a status report regarding future steps in the

case.

        3. Counsel for plaintiff has informed the government that plaintiff consents to

this request.

                                                 Respectfully submitted,


                                                  ERIC D. MCARTHUR
                                                    Deputy Assistant Attorney General*

                                                  MICHAEL S. RAAB

                                                   s/ Sean R. Janda
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March 2025




        *
            The Acting Assistant Attorney General is recused in this matter.
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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(1)(E) because it contains 305 words. This brief also complies with

the typeface and type-style requirements of Federal Rule of Appellate Procedure

32(a)(5)-(6) because it was prepared using Word for Microsoft 365 in Garamond 14-

point font, a proportionally spaced typeface.



                                                  s/ Sean R. Janda
                                                Sean R. Janda
